    Case
     Case6:22-cv-02299-PGB-EJK
          6:22-cv-02299-PGB-EJK Document
                                 Document35-13
                                          2-15 Filed 09/01/23
                                                     12/09/22 Page 1 of 4 PageID 1033
                                                                                 399

                                                                             Statement
                                                                             Page 1 of 4
                                                                             Date                       5/2/2022

St. Matthew’s University                                                     Amount Due                 $0.00
12124 High Tech Avenue, Suite 290
Orlando, FL 32817




Bill To
c/o Becky Gegas
Danielle Gegas
941 Clan Ct.
Worthington OH 43085
United States




Date         Description                 Memo                                PO/Check      Charge       Payment    Balance
5/1/2009     Balance Forward                                                                                             0.00
11/18/2017   Payment #28409985734        Seat Deposit                        4591                           500.00   (500.00)
11/24/2017   Payment #28409985856        Room Deposit                        4591                         1,000.00 (1,500.00)
11/27/2017   Invoice #SMC57292IN         Transfer Payment to Housing                         1,000.00                (500.00)
1/1/2018     Invoice #SMC57433IN         BS1-Basic Science Tuition and                      14,178.00               13,678.00
                                         Fees-Spring 2018
1/11/2018    Payment #28409987087        EdMed Disb Jan 2018 (EdMed          EdMed 0...                  20,000.00      (6,322.00)
                                         011118)
1/11/2018    Student Refund #8715        EdMed Disb Jan 2018 (EdMed                          6,322.00                        0.00
                                         011118)
1/30/2018    Payment #28409987821        Residence Payment                   4591                         4,800.00      (4,800.00)
1/31/2018    Invoice #SMC57766IN         Transfer Payment to Housing                         4,800.00                         0.00
3/26/2018    Invoice #SMC58207IN         BS2-Basic Science Tuition and                      13,928.00                   13,928.00
                                         Fees-Spring 2018
3/26/2018    Credit Memo #SMC13352C...   BS1-Basic Science Tuition and                                   14,178.00       (250.00)
                                         Fees-Spring 2018
5/1/2018     Invoice #SMC57928IN         BS3- Basic Science Tuition and                     13,805.00                   13,555.00
                                         Fees-Summer 2018
5/10/2018    Payment #28409990823        EdMed Disb May 2018 (EdMed          EdMed 0...                  20,000.00      (6,445.00)
                                         051018)
5/10/2018    Student Refund #8737        EdMed Disb May 2018 (EdMed                          6,445.00                        0.00
                                         051018)
6/30/2018    Credit Memo #SMC13534C...   TA Hours - 2 Hours - Genetics -                                        20.00      (20.00)
                                         June 2018
6/30/2018    Credit Memo #SMC13532C...   TA Hours - 1 Hours - Physiology -                                      10.00      (30.00)
                                         June 2018
6/30/2018    Credit Memo #SMC13535C...   TA Hours - 1 Hours - EBM - June                                        10.00      (40.00)
                                         2018
6/30/2018    Credit Memo #SMC13533C...   TA Hours - 1 Hours - Genetics -                                        10.00      (50.00)
                                         May 2018
6/30/2018    Credit Memo #SMC13531C...   TA Hours - 1 Hours - Physiology -                                      10.00      (60.00)
                                         May 2018
9/1/2018     Invoice #SMC58962IN         BS4-Basic Science Tuition and                      14,888.00                   14,828.00
                                         Fees-Fall 2018
9/25/2018    Credit Memo #SMC13705C...   TA Hours - 1 Hours - EBM - July                                        10.00   14,818.00
                                         2018
9/25/2018    Credit Memo #SMC13706C...   TA Hours - 1 Hours - Genetics -                                        10.00   14,808.00
                                         July 2018
9/25/2018    Credit Memo #SMC13704C...   TA Hours - 1 Hours - Physio -                                          10.00   14,798.00
                                         July 2018
9/25/2018    Credit Memo #SMC13707C...   TA Hours - 1 Hours - Physio -                                          10.00   14,788.00
                                         Aug 2018
9/28/2018    Payment #284099925931       Federal Direct UNSUB                US092818                    10,141.00    4,647.00
10/10/2018   Payment #284099926192       Federal Direct GPLUS                GP101018                    14,733.00 (10,086.0...
10/16/2018   Student Refund #1019        Federal Direct GPLUS                               10,086.00                      0.00
11/29/2018   Payment #284099927964       Federal Direct GPLUS                GP112918                        32.00      (32.00)
12/10/2018   Student Refund #1097        Federal Direct GPLUS                                   32.00                      0.00
1/1/2019     Invoice #SMC59905IN         BS5-Basic Science Tuition and                      15,823.00                15,823.00
                                         Fees-Spring 2019
2/6/2019     Payment #284099929833       Federal Direct UNSUB                US020619                    10,141.00       5,682.00



                                     Exhibit M: Comprehensive Invoice                                               001
    Case
     Case6:22-cv-02299-PGB-EJK
          6:22-cv-02299-PGB-EJK Document
                                 Document35-13
                                          2-15 Filed 09/01/23
                                                     12/09/22 Page 2 of 4 PageID 1034
                                                                                 400

                                                                        Statement
                                                                        Page 2 of 4
                                                                        Date                       5/2/2022

St. Matthew’s University
12124 High Tech Avenue, Suite 290
Orlando, FL 32817




Date        Description              Memo                               PO/Check      Charge     Payment    Balance
2/6/2019    Payment #284099929834    Federal Direct GPLUS               GP020619                  14,765.00 (9,083.00)
2/12/2019   Student Refund #1134     Federal Direct GPLUS                               9,083.00                  0.00
5/1/2019    Invoice #SMC60862IN      National Board Fees-Summer                           500.00                500.00
                                     2019
5/1/2019   Invoice #SMC60955IN       Student Health Insurance                            653.00                  1,153.00
                                     Summer 2019
7/26/2019  Payment #284099935455     Tuition                            4591                         1,153.00         0.00
9/1/2019   Invoice #SMC62300IN       Student Health Insurance Fall                       653.00                     653.00
                                     2019
9/1/2019   Invoice #SMC62221IN       CS1 (6th Sem)-Clinical Science                    19,835.00                20,488.00
                                     Tuition and Fees-Fall 2019
10/23/2019 Payment #284099938260     Federal Direct UNSUB               US102319                     5,071.00   15,417.00
10/23/2019 Payment #284099938259     Federal Direct GPLUS               GP102319                    10,196.00    5,221.00
11/1/2019  Payment #284099938753     Federal Direct UNSUB               US110119                     5,071.00      150.00
11/1/2019  Payment #284099938752     Federal Direct GPLUS               GP110119                    10,196.00 (10,046.0...
11/7/2019  Student Refund #1455      Federal Direct GPLUS                              10,046.00                     0.00
1/1/2020   Invoice #SMC63377IN       CS2 (7th sem)-Clinical Science                    19,835.00                19,835.00
                                     Tuition and Fees-Spring 2020
1/1/2020   Invoice #SMC63461IN       Student Health Insurance Spring                     653.00                 20,488.00
                                     2020
1/20/2020  Invoice #SMC64098IN       Spring 2020-Family Practice                        1,842.00                22,330.00
                                     Elective from 2020-03-30 to
                                     2020-05-08-Mt. Sinai Hospital
                                     Medical Center-IL
2/12/2020  Payment #284099941856     Federal Direct GPLUS               GP021220                    10,196.00   12,134.00
2/12/2020  Payment #284099941857     Federal Direct UNSUB               US021220                     5,071.00     7,063.00
2/27/2020  Payment #284099942558     Federal Direct GPLUS               GP022720                    10,196.00   (3,133.00)
2/27/2020  Payment #284099942559     Federal Direct UNSUB               US022720                     5,071.00   (8,204.00)
3/3/2020   Student Refund #1594      Federal Direct GPLUS                               8,204.00                      0.00
4/10/2020  Credit Memo #SMC14688C... DROPPED-Spring 2020-Family                                      1,842.00   (1,842.00)
                                     Practice Elective from
                                     2020-03-30 to 2020-05-08-Mt.
                                     Sinai Hospital Medical Center-IL
4/14/2020  Invoice #SMC65014IN       Spring 2020-ICMI Elective from                      200.00                 (1,642.00)
                                     2020-04-06 to
                                     2020-05-01-COVID19
4/28/2020  Payment #284099943891     Tuition                            4591                           200.00   (1,842.00)
5/1/2020   Invoice #SMC64513IN       CS2R (7th sem)-Clinical Science                     435.00                 (1,407.00)
                                     Fees-Summer 2020
5/1/2020   Invoice #SMC64600IN       Student Health Insurance                            653.00                   (754.00)
                                     Summer 2020
5/11/2020  Credit Memo #SMC14850C... DROPPED-Spring 2020-ICMI                                          200.00     (954.00)
                                     Elective from 2020-04-06 to
                                     2020-05-01-COVID19
6/30/2020  Invoice #SMC66131IN       Summer 2020-Preparing for                           100.00                   (854.00)
                                     Modern Clinical Practice from
                                     2020-06-15 to
                                     2020-06-26-COVID19-Salter,
                                     David
6/30/2020  Invoice #SMC66099IN       CS3 (8th sem)-Clinical Science                    19,835.00                18,981.00
                                     Tuition and Fees-Summer 2020
6/30/2020  Credit Memo #SMC14983C... CS2R (7th sem)-Clinical Science                                   435.00   18,546.00
                                     Fees-Summer 2020
7/16/2020  Payment #284099946270     Federal Direct UNSUB               US071620                     5,071.00   13,475.00
7/16/2020  Payment #284099946271     Federal Direct UNSUB               US071620                     5,071.00    8,404.00
7/31/2020  Invoice #SMC66251IN       Summer 2020-Anesthesia                              300.00                  8,704.00
                                     Elective from 2020-08-03 to
                                     2020-08-28-Jackson Park
                                     Hospital, Chicago, IL
8/5/2020   Payment #284099947034     Federal Direct GPLUS               GP080520                    11,403.00 (2,699.00)
8/5/2020   Payment #284099947035     Federal Direct GPLUS               GP080520                    11,403.00 (14,102.0...
8/11/2020  Student Refund #1918      Federal Direct GPLUS                               1,310.00              (12,792.0...
8/11/2020  Student Refund #1919      Federal Direct GPLUS                              11,403.00               (1,389.00)



                                    Exhibit M: Comprehensive Invoice                                          002
    Case
     Case6:22-cv-02299-PGB-EJK
          6:22-cv-02299-PGB-EJK Document
                                 Document35-13
                                          2-15 Filed 09/01/23
                                                     12/09/22 Page 3 of 4 PageID 1035
                                                                                 401

                                                                           Statement
                                                                           Page 3 of 4
                                                                           Date                       5/2/2022

St. Matthew’s University
12124 High Tech Avenue, Suite 290
Orlando, FL 32817




Date         Description               Memo                                PO/Check      Charge    Payment         Balance
9/1/2020     Invoice #SMC66101IN       Student Health Insurance Fall                        653.00                   (736.00)
                                       2020
9/1/2020     Invoice #SMC66100IN       CS4 (9th sem)-Clinical Science                     21,085.00                 20,349.00
                                       Tuition and Fees-Fall 2020
10/22/2020   Payment #284099949583     Federal Direct GPLUS                GP102220                    11,109.00    9,240.00
10/22/2020   Payment #284099949584     Federal Direct GPLUS                GP102220                    11,108.00  (1,868.00)
10/29/2020   Student Refund #1988      Federal Direct GPLUS                                 479.00                (1,389.00)
11/5/2020    Payment #284099950133     Federal Direct UNSUB                US110520                     5,071.00 (6,460.00)
11/5/2020    Payment #284099950132     Federal Direct UNSUB                US110520                     5,071.00 (11,531.0...
11/10/2020   Student Refund #2100      Federal Direct UNSUB                                5,071.00               (6,460.00)
11/10/2020   Student Refund #2101      Federal Direct UNSUB                                5,071.00               (1,389.00)
11/10/2020   Student Refund #9100      Student Refund                                      1,389.00                     0.00
1/1/2021     Invoice #SMC67135IN       CS5 (10th sem)-Clinical Science                    21,085.00                21,085.00
                                       Tuition and Fees-Spring 2021
1/1/2021     Invoice #SMC67225IN       Student Health Insurance Spring                      653.00                  21,738.00
                                       2021
1/22/2021    Invoice #SMC67857IN       CCE (SHELF EXAM) 2/20/21 -                           100.00                  21,838.00
                                       3/5/21.
1/26/2021    Invoice #SMC67903IN       Spring 2021-Family Practice                          600.00                  22,438.00
                                       Elective from 2021-01-04 to
                                       2021-02-12-AdventHealth
                                       Orlando Florida Hospital-Torres
2/25/2021    Payment #284099953253     Federal Direct UNSUB                US02252...                   5,071.00   17,367.00
2/25/2021    Payment #284099953254     Federal Direct UNSUB                US02252...                   5,071.00   12,296.00
3/5/2021     Payment #284099953669     Federal Direct GPLUS                GP03052...                  11,349.00      947.00
3/5/2021     Payment #284099953670     Federal Direct GPLUS                GP03052...                  11,348.00 (10,401.0...
3/9/2021     Student Refund #2257      Federal Direct GPLUS                               10,401.00                     0.00
5/1/2021     Invoice #SMC68350IN       CS6 (11th sem)-Clinical Science                       435.00                   435.00
                                       Fees-Summer 2021
5/1/2021     Invoice #SMC68478IN       Student Health Insurance                             653.00                   1,088.00
                                       Summer 2021
5/18/2021    Payment #284099955784     Tuition                             0938                         1,088.00         0.00
5/26/2021    Invoice #SMC69120IN       Summer 2021-Neurology                                200.00                     200.00
                                       Elective from 2021-08-02 to
                                       2021-08-27-AdventHealth
                                       Orlando Florida Hospital-Isa
6/10/2021    Payment #284099956439     Tuition                             0938                           200.00         0.00
7/16/2021    Credit Memo #SMC15936C... DROPPED Summer                                                     200.00     (200.00)
                                       2021-Neurology Elective from
                                       2021-08-02 to
                                       2021-08-27-AdventHealth
                                       Orlando Florida Hospital-Isa
7/20/2021    Invoice #SMC69897IN       CCS Exam fee 8/21/21 - 9/3/21                        147.00                    (53.00)
7/23/2021    Payment #284099958026     Tuition                             0938                           147.00     (200.00)
7/29/2021    Invoice #SMC69956IN       Summer 2021-Neurology                                200.00                       0.00
                                       Electives from 2021-08-23 to
                                       2021-09-17-AdventHealth
                                       Orlando Florida Hospital-Esat
8/15/2021    Invoice #SMC70034IN       MSPE Fee                                              25.00                      25.00
8/15/2021    Payment #284099958685     MSPE Fee                            8444                            25.00         0.00
9/1/2021     Credit Memo #SMC15996C... Health Insurance Waiver, Fall ‘21                                  653.00     (653.00)
9/1/2021     Invoice #SMC69829IN       CS6+ (11th sem)-Clinical                             435.00                   (218.00)
                                       Science Fees-Fall 2021
9/1/2021     Invoice #SMC69830IN       Student Health Insurance Fall                        653.00                     435.00
                                       2021
9/10/2021    Payment #284099959264     Tuition                             0938                           435.00          0.00
9/15/2021    Payment #284099959310     Transcript fee                      8444                            10.00       (10.00)
9/15/2021    Invoice #SMC69388IN       Transcript Fee (Upload ERAS                           10.00                        0.00
                                       12954992)
9/22/2021    Invoice #SMC70303IN       Fall 2021-Neurology Elective                         100.00                     100.00
                                       from 2021-09-20 to
                                       2021-10-01-AdventHealth
                                       Orlando Florida Hospital-Isa



                                     Exhibit M: Comprehensive Invoice                                            003
     Case
      Case6:22-cv-02299-PGB-EJK
           6:22-cv-02299-PGB-EJK Document
                                  Document35-13
                                           2-15 Filed 09/01/23
                                                      12/09/22 Page 4 of 4 PageID 1036
                                                                                  402

                                                                                     Statement
                                                                                     Page 4 of 4
                                                                                     Date                       5/2/2022

St. Matthew’s University
12124 High Tech Avenue, Suite 290
Orlando, FL 32817




Date       Description                     Memo                                      PO/Check      Charge    Payment   Balance
9/30/2021  Payment #284099959677           Tuition                                   0938                       100.00       0.00
11/10/2021 Invoice #SMC71090IN             Fall 2021-Family Medicine Acting                             0.00      0.00       0.00
                                           Internship Electives from
                                           2021-11-29 to
                                           2021-12-24-Ascension St.
                                           Vincent‰Ûªs Hospital, IN
11/15/2021 Invoice #SMC71102IN             CCS Exam fee 12/18/21 -                                    147.00                         147.00
                                           12/31/21
11/23/2021 Payment #284099961625           Tuition                                   9358                             147.00         0.00
4/20/2022  Payment #284099965442           Tuition                                   9358                             147.00     (147.00)
5/1/2022   Invoice #SMC71842IN             CCS Exam 05/07/22-05/20/22                                 147.00                         0.00
 5/26/2022   Invoice #SMC71882IN           CCS Exam 06/25/22-07/08/22                                 147 00          147 00           0.00
 8/05/2022   Invoice #SMC73588IN           CCS Exam 08/13/22-08/26/22                                 148 00          148 00           0.00
Current                 1-30 Days          31-60 Days                   61-90 Days            Over 90 Days            Amount Due

                0.00                0.00                       0.00                    0.00                    0.00                   $0.00




                                     Exhibit M: Comprehensive Invoice                                                          004
